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 4    (702) 388-6336

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 6
                              UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
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10                                                      )   2:10-cr-00365-JCM-PAL
      UNITED STATES OF AMERICA,                         )
11                                                      )
                             PLAINTIFF,                 )
12                                                      )   GOVERNMENT’S SUBMISSION                   OF
       v.                                               )   PROPOSED FORM OF ORDER
13                                                      )
      BRAD FUSSELL,                                     )
14                                            )
                        DEFENDANT.            )             _____________________________________
15    ________________________________________)

16
                     COMES NOW the United States of America, by and through DANIEL G. BOGDEN,
17
      United States Attorney, and Bradley W. Giles, Assistant United States Attorney, in submission of the
18
      attached proposed form of Order reference the documents that were previously submitted for an ex
19
      parte, in camera review by this Court.
20
                     Respectfully submitted this, 26th day of September, 2011
21

22
                                                            DANIEL G. BOGDEN
23                                                          United States Attorney

24                                                          /s/ Bradley W. Giles

25                                                          BRADLEY W. GILES
                                                            Assistant United States Attorney
26
     Case
      Case2:10-cr-00365-JCM-PAL
           2:10-cr-00365-JCM -PAL Document
                                  Document128
                                           125               Filed
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                                                                   09/26/11 Page




 1
                             CERTIFICATE OF ELECTRONIC SERVICE
 2
                    This is to certify that the undersigned has served counsel for Defendant Brad Fussell,
 3
     Mr. Paul Riddle, Esq., Assistant Federal Public Defender, with the foregoing by means of electronic
 4
     filing.
 5

 6
                                                          /s/ Bradley W. Giles
 7                                                        ____________________________
                                                          BRADLEY W. GILES
 8                                                        Assistant United States Attorney

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 3                            UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
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 7    UNITED STATES OF AMERICA,                        )   2:10-cr-00365-JCM-PAL
                                                       )
 8                          PLAINTIFF,                 )
                                                       )
 9     vs.                                             )                  ORDER
                                                       )
10    BRAD FUSSELL,                                    )
                                              )
11                      DEFENDANT.            )            ____________________________________
      ________________________________________)
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14                   This Court, having reviewed the documents provided by the Government for in

15    camera, ex parte review, to include a letter from co-defendant Jonathan Francis and potentially

16    responsive materials pursuant to United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991),

17                   IT IS HEREBY ORDERED, that the documents submitted for review by this court

18    are not discoverable. A copy of these documents will be maintained under seal by this court.

19

20

21                                                         IT IS SO ORDERED

22

23                                                         ________________________________
                                                           UNITED STATES DISTRICT JUDGE
24                                                                September 27, 2011
                                                           Dated: __________________
25

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